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16                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                  SAN JOSE DIVISION

18   MATT JONES, BRYSON                          CASE NO. 5:22-cv-04486-BLF
     DECHAMBEAU, PETER UIHLEIN, and
19   LIV GOLF INC.,                              EX PARTE MOTION FOR FIRST
                                                 EXTENSION OF TIME RELATING TO
20                             Plaintiffs,       OBJECTIONS TO MAGISTRATE JUDGE
                                                 ORDER
21         v.
22   PGA TOUR, INC.,                             Judge:        Hon. Beth Labson Freeman
23                             Defendant and     Date Filed:   August 3, 2022
                               Counter-
24                             Plaintiff,        Trial Date:   January 8, 2024

25         v.
26   LIV GOLF INC.,
27
                         Counter-Defendant.
28

           EX PARTE APPLICATION FOR FIRST EXTENSION OF TIME RELATING TO OBJECTIONS TO
                                    MAGISTRATE JUDGE ORDER
                                    CASE NO. 5:22-CV-04486-BLF
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 1           Pursuant to Civil Local Rule 6-3 and 7-10 and Federal Rule of Civil Procedure 6, the Public

 2 Investment Fund of the Kingdom of Saudi Arabia (“PIF”) and His Excellency Yasir Othman Al-

 3 Rumayyan (“HE”) respectfully move ex parte for a seven-day extension of time—until Thursday,

 4 March 2, 2023—by which PIF and HE may file Civil Local Rule 72 objections to the Magistrate

 5 Judge’s February 9, 2023 Order (Dkt. 265, the “Order”).1

 6           PIF and HE file this motion on an ex parte basis under Federal Rule of Civil Procedure 6(b)

 7 because the Court issued an order permitting the Tour to add PIF and HE as counterclaim-defendants

 8 on February 21, 2023—two days before the objections are due. Dkt. 280. Following this very recent

 9 development—if there is in fact an amendment and it is served under 28 USC 1608 (b)–the Rule 45

10 subpoena that was the subject of the Magistrate Judge’s ruling may be superseded and moot. Further

11 different motions may be filed. These changed circumstances could also implicate the arguments

12 and motions pending before the Court. For the sake of judicial efficiency and avoiding duplicative

13 consideration of such issues, good cause exists to extend the deadline. See Carson v. Roper, No. C-

14 89-0162 DLJ, 1994 WL 62100, at *5 (N.D. Cal. Feb. 11, 1994) (recognizing that pursuant to Fed.

15 R. Civ. P. 6(b), “[c]ourts routinely grant ex parte motions for extension of time where the supporting

16 affidavit shows good cause”); Phoenix Books, Inc. v. Mr Bongo Worldwide Ltd., 2019 WL 8137721,

17 at*2 (C.D. Cal. Dec. 17, 2019) (cleaned up) (“Filing an ex parte application ‘is justified . . . when .

18 . . the party seeks a routine procedural order that cannot be obtained through a regularly noticed

19 motion . . . .’”). The Tour declined to stipulate to this extension request. Teruya Decl. ¶ 4.

20 I.        BACKGROUND

21           Under Federal Rule of Civil Procedure 72 and Civil Local Rule 72, a party has fourteen days

22 from service of the decision to file objections for both dispositive and nondispositive matters. PIF

23 and HE’s objections to the Order are presently due on February 23, 2023.

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         PIF and HE file this request for this limited purpose without waiving any claim or defense and
27
     reserve all rights.
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         EX PARTE MOTION FOR FIRST EXTENSION OF TIME RELATING TO OBJECTIONS TO MAGISTRATE
                                            JUDGE ORDER
                                      CASE NO. 5:22-CV-04486-BLF
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 1            On February 21, 2023, the Court granted Defendant PGA Tour, Inc.’s Motion for Leave to

 2 Amend Counterclaim, Dkt. 280, which Amended Counterclaim includes PIF and HE as counter-

 3 defendants. Dkt. 238. The Amended Counterclaim has not been filed or served under 28 USC

 4 §1608(b). On February 24, 2023, this Court will hold a Case Management Conference. Dkt. 261.

 5            One of the principal issues addressed in the Magistrate’s Order is whether the Foreign

 6 Sovereign Immunities Act’s commercial activity exception applies to all or part of a subpoena to

 7 PIF, such that PIF is (or is not) immune from the same. See, e.g., Order 11:22-24:16. The exception

 8 applies under the Act if a claim is “based upon a commercial activity carried on in the United States.”

 9 28 U.S.C. § 1605(a)(2). And “an action is ‘based upon’ the ‘particular conduct’ that constitutes the

10 ‘gravamen’ of the suit.” OBB Personenverkehr AG v. Sachs, 577 U.S. 27, 35, 136 S. Ct. 390, 396

11 (2015) (citation omitted). Accordingly, the Order analyzes the Tour’s original counterclaim to

12 determine the “gravamen” of that suit and whether PIF’s conduct constituted the same. See, e.g.,

13 Order 23:19-26 (analyzing the allegations of the Tour’s original counterclaim).

14            Once the Amended Counterclaim is filed and served, counsel for the PIF and HE will assess

15 to determine if similar grounds would support a motion to dismiss the amended counterclaim

16 including, e.g., on immunity, international comity, and lack of personal jurisdiction, in addition to

17 other grounds which require an analysis of any new allegations by the Tour.2

18 II.        ARGUMENT

19            In light of the Court’s order permitting the Tour to amend their Counterclaim, PIF and HE

20 seek this ex parte extension of time for good cause.

21            First, PIF and HE believe that more time is necessary to fully assess the impact of the order

22 permitting an amended counterclaim on their objections to the Order. The Order’s analysis rests in

23 part on the original counterclaim. See Ramirez v. Cty. Of San Bernardino, 806 F.3d 1002, 1008 (9th

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25   2
         PIF and HE reserve the right to make any and all arguments available to them in any motion to
26 dismiss. These are examples only and are not exhaustive, nor are they intended to waive any rights

27
     or arguments.
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                                                        2
         EX PARTE MOTION FOR FIRST EXTENSION OF TIME RELATING TO OBJECTIONS TO MAGISTRATE
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 1 Cir. 2015) (citation omitted) (recognizing that “an ‘amended complaint supersedes the original, the

 2 latter being treated thereafter as non-existent.’”). Second, there is a Case Management Conference

 3 in two days. It will be beneficial for all interested parties to receive the Court’s guidance on its

 4 views on how best to proceed on the objections and subsequent potential decisions (such as motions

 5 to dismiss), including in light of potentially overlapping issues of subject matter jurisdiction, service

 6 of process, personal jurisdiction, FSIA defenses, and international comity Given the potential for

 7 various interrelated issues, guidance from the Court at the Case Management Conference will be

 8 invaluable as the parties consider how best to proceed.

 9 III.     PRIOR EXTENSIONS

10          As required by Civil Local Rule 6-3(a)(5), PIF and HE, as subpoena recipients, state that, in

11 response to the PGA Tour, Inc.’s request for modification of briefing schedule regarding the motion

12 to quash and the motion to compel that is the subject of the Order, PIF and HE requested an extension

13 of time on the same. Dkt. 149. The Court modified the briefing schedule by giving PIF and HE a

14 four-day extension on their reply and the Tour a three-day extension on its reply. Dkt. 152. If

15 granted, this request for extension will not impact the current case schedule.

16 IV.      CONCLUSION

17          For these reasons, which individually and together constitute good cause, PIF and HE request

18 a seven-day extension—until Thursday, March 2, 2023—to object to the Order.

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20 DATED: February 22, 2023                       Respectfully submitted,

21                                               By:         /s/ Kevin Teruya
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                                      Excellency Yasir O. Al-Rumayyan.
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1                   ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

2         Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that

3 concurrence in the filing of the document has been obtained from each of the other signatories to

4 this document.

5

6
          Executed on February 22, 2023.
7
                                                         /s/_Kevin Teruya_______________________
8                                                        Kevin Teruya

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